                              Case 18-23941-RAM                       Doc 1         Filed 11/08/18             Page 1 of 3
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of Florida

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                 amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            SAM Industrias S.A.
                                           _______________________




                                                      individual debtors:

                                                      Federal Employer Identification Number (EIN)       ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                            33.017.039/0001-70
                                                       Other ___________________________.                     SAM's Brazilian Tax ID
                                                                                          Describe identifier _____________________________.


                                           For individual debtors:

                                                      Social Security number:     xxx – xx– ____ ____ ____ ____

                                                      Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                  ✔
                                                             095.657.870-53
                                                       Other ___________________________.                     Birmann's Brazilian Tax ID
                                                                                          Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Carlos Magno, Nery e Medeiros Sociedade de Advogados
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Case No. 0002017-60.2007.8.19.0001, 2nd Business Court of the City of Rio de Janeiro
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign                     A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.
                                           ✔
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  Order commencing the foreign proceeding; declaring bankruptcyRI6$0DQG
                                                  _______________________________________________________________________________________
                                                  extending it to Boulder & Birmann; order appointing foreign representative
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔ Yes
     foreign representative(s)?
                                           



Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
                               Case 18-23941-RAM                        Doc 1             Filed 11/08/18             Page 2 of 3

Debtor          SAM   Industrias S.A.
                _______________________                                                                Case number (if known)_____________________________________
                Name



8.    Others entitled to notice           Attach a list containing the names and addresses of:
                                          (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                          (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                 petition, and
                                          (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                           Country where the debtor has the center of its                      Debtor’s registered office:
                                          main interests:


                                          Brazil
                                          ______________________________________________                      Km 5 da RJ 115 – Rodovia Nova Iguaçu
                                                                                                              ______________________________________________
                                                                                                              Number     Street

                                                                                                              Adrianópolis, Santa Rita
                                                                                                              _______________________________________________
                                                                                                              P.O. Box

                                                                                                              Nova Iguaçu, Rio de Janei 27700-000
                                                                                                              _______________________________________________
                                                                                                              City         State/Province/Region ZIP/Postal Code


                                                                                                              Brazil
                                                                                                              _______________________________________________
                                                                                                              Country




                                          Individual debtor’s habitual residence:                             Address of foreign representative(s):


                                                                                                              Avenida Almirante Barroso, 97, Grupo 408
                                                                                                              _______________________________________________
                                          Number         Street                                               Number     Street

                                                                                                              _______________________________________________
                                          P.O. Box                                                            P.O. Box

                                                                                      _                      Rio de Janeiro,RJ 20031- 0050
                                                                                                             _______________________________________________
                                          City                State/Province/Region       ZIP/Postal Code     City          State/Province/Region    ZIP/Postal Code


                                                                                                              Brazil
                                                                                                              _______________________________________________
                                          Country                                                             Country




10.   Debtor’s website (URL)
                                          ____________________________________________________________________________________________________




11.   Type of debtor                      Check one:
                                          ✔
                                                Non-individual (check one):
                                                  ✔
                                                      Corporation. Attach a corporate ownership statement containing the information
                                                       described in Fed. R. Bankr. P. 7007.1.

                                                      Partnership

                                                      Other. Specify: ________________________________________________

                                                Individual




     Official Form 401                           Chapter 15 Petition for Recognition of a Foreign Proceeding                                        page 2
Case 18-23941-RAM   Doc 1   Filed 11/08/18   Page 3 of 3
